Case 1:19-md-02875-RMB-SAK              Document 812        Filed 01/28/21       Page 1 of 4 PageID:
                                             20341



                                 UNITED STATES DISTRICT COURT
                                    DISTRICT OF NEW JERSEY



  IN RE: VALSARTAN,
  LOSARTAN, AND IRBESARTAN                                            MDL No. 2875
  PRODUCTS LIABILITY
  LITIGATION
                                                               HON. ROBERT B. KUGLER
  THIS DOCUMENT RELATES TO ALL
  CASES



                  NOTICE TO TAKE VIDEOTAPED ORAL DEPOSITION


 TO:    Lori G. Cohen, Esq,
        GREENBERG TRAURIG, LLP
        Terminus 200, 3333 Piedmont Road NE, Suite 2500
        Atlanta, GA 30305
        Attorneys for Defendants Teva Pharmaceuticals USA, Inc., Teva Pharmaceutical
        Industries, Ltd., Actavis, LLC, Arrow Pharm Malta Ltd., and Actavis Pharma (hereinafter
        “Defendants”).


        Please take notice that pursuant to Federal Rule of Civil Procedure 30, and other applicable

 Rules, including the Local Civil Rules, and the applicable Orders of the Court, Plaintiffs, by and

 through their counsel, will take the videotaped deposition of Kevin Galownia, on February 18,

 2021, at 9:00 a.m. eastern time, and continuing until completion, via remote deposition while the

 witness is at her home or office or other location agreed to by the parties, in accordance with the

 Fact Witness Deposition Protocol, Case Management Order #20, filed November 17, 2020

 (Document 632). The deposition shall first address the Federal Rule of Civil Procedure 30(b)(6)

 topics listed on Exhibit A attached, followed by deposition of the witness in his individual capacity.

 The witness shall produce the documents requested at Exhibit B, attached hereto, at least 5 days

 in advance of the deposition.
Case 1:19-md-02875-RMB-SAK            Document 812        Filed 01/28/21      Page 2 of 4 PageID:
                                           20342



        Pursuant to the meet and confer between the parties, a translator will not be provided.

 TAKING ATTORNEYS FOR PLAINTIFFS:

 David J. Stanoch, Esq.
 Kanner & Whiteley, L.L.C.
 701 Camp St.
 New Orleans, LA 70130
 Telephone: 504-524-5777
 d.stanoch@kanner-law.com



        The videotaped deposition will be taken before a person authorized by law to administer

 oaths, pursuant to Rule 28 of the Federal Rules of Civil Procedure.

 January 28, 2021

                                                     PLAINTIFFS’ CO-LEAD COUNSEL

                                                     By:   /s/ David J. Stanoch______________
                                                     DAVID J. STANOCH
                                                     Kanner & Whiteley, L.L.C.
                                                     701 Camp St.
                                                     New Orleans, LA 70130
                                                     Telephone: 504-524-5777
Case 1:19-md-02875-RMB-SAK               Document 812        Filed 01/28/21      Page 3 of 4 PageID:
                                              20343



                                              EXHIBIT A

              RULE 30(B)(6) TOPICS (see ECF 651-1 for full list of Topics to Teva)


           52. The pricing of Teva’s valsartan finished dose that was ultimately sold in the United

 States.

           53. The gross and net profits to Teva from the sale of Teva’s valsartan finished dose in the

 United States.

           55. The Teva valsartan finished dose sales and pricing data produced by you in this

 litigation (sample documents to be provided at least 30 days ahead of deposition during meet and

 confer process).

           56. Teva’s acquisition and ownership of entities that purchased valsartan API and sold

 valsartan finished doe intended for use in the United States.



                                              EXHIBIT B

                                      DOCUMENT REQUESTS

    1. The most recent resume/Curriculum Vitae and LinkedIn profile for Kevin Galownia.

    2. The complete production of Kevin Galownia’s relevant custodial documents, including
       those maintained on personal computers or electronic devices, to the extent not produced
       prior.
Case 1:19-md-02875-RMB-SAK            Document 812        Filed 01/28/21     Page 4 of 4 PageID:
                                           20344



                               UNITED STATES DISTRICT COURT
                                  DISTRICT OF NEW JERSEY



  IN RE: VALSARTAN,
  LOSARTAN, AND IRBESARTAN                                         MDL No. 2875
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                                                            HON. ROBERT B. KUGLER
  THIS DOCUMENT RELATES TO ALL
  CASES




                                 CERTIFICATE OF SERVICE

        I hereby certify that on January 28, 2021, I caused the foregoing document to be

 electronically filed with the Clerk of the court using CM/ECF system which will send notification

 of such filing to the CM/ECF participants registered to receive service in this MDL.

                                                     PLAINTIFFS’ CO-LEAD COUNSEL

                                                     By:   /s/ David J. Stanoch______________
                                                     DAVID J. STANOCH
                                                     Kanner & Whiteley, L.L.C.
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                                                     New Orleans, LA 70130
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